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 8                        UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                CASE NO.: 25MJ0040
12                      Plaintiff,            NOTICE OF APPEARANCE
                                              AS LEAD COUNSEL
13         v.
14   BAILEY A. SZRAMOSWKI,
15                       Defendant.
16
17         Pursuant to the CM/ECF procedures in the United States District Court for

18   the Southern District of California, Jessica J. Oliva, Federal Defenders of San

19   Diego, Inc., hereby gives notice as lead counsel in the above-captioned case.

20                                        Respectfully submitted,

21
22   Dated: January 8, 2025               s/ Jessica Oliva
                                          Federal Defenders of San Diego, Inc.
23                                        Attorneys for Defendant
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